                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         MIDDLE DISTRICT OF TENNESSEE
                              NASHVILLE DIVISION


UNITED STATES OF AMERICA                           )
                                                   )
                                                   )
v.                                                 )       Criminal No. 3:10-00163
                                                   )       Judge Trauger
[4] TIM ALLEN                                      )
[5] ANTHONY BROOKS                                 )
[8] KERRY PETTUS                                   )
[10] DESHAUNE JONES                                )
[13] AARON GOOCH                                   )
[23] SHAWN HOWELL                                  )
[28] MONTEZ HALL                                   )
[29] CEDRIC WOODS                                  )

                                          ORDER

        The various Motions For Early Disclosure of Jencks Act Material filed by the above

defendants (Docket Nos. 803, 804, 805, 819, 825, 841, 847, 858, 877, 896, 911) are DENIED

AS MOOT. The government has agreed to produce Jencks Act material prior to trial, and by

Order entered May 23, 2011 (Docket No. 612), the court has ordered Jencks Act material to be

made available to defense counsel by January 31, 2012, which is two weeks before the beginning

of the trial.

        It is so ORDERED.

        ENTER this 4th day of January 2012.


                                                    ________________________________
                                                          ALETA A. TRAUGER
                                                           U.S. District Judge




Case 3:10-cr-00163       Document 1120        Filed 01/04/12     Page 1 of 1 PageID #: 3285
